Case 06-10725-gwz Doc 3737-2 Entered 05/15/07 14:00:20 Page1of2

15
B24 4/92) Subpocna for Rule 2004 Examination

Original

United States Bankruptcy Court

DISTRICT OF NEVADA |
INRE SUBPOE 0 £2004 ATION
USA COMMERCIAL MORTGAGE COMPANY, CaSENOS. BK-§-06-10725 LAR
USA CAPITAL REALTY ADVISORS, LLC, BK-§-06-10726 LER
USA CAPITAL DIVERSIFIED TRUST DEED FUND LLC, BK-8-06-10727 LER
USA CAPITAL FIRST TRUST DEED FUND LLC, BK-S-06-10728 LER
USA SECURITIES, LLC, Bis-8-05-10729 LER

PEBTORS.

AFFRCTS: ALL DEBTORS

TO; Desert Community Bank
Atin: President or Any Authorized Officer
3740 South Pecos-McLeod Interconnect -
Las Vegas, Nevada 89121

JOINTLY ADMINISTERED UNDER
CASE NO. BK-S-06-10725-LBER

x YOu ARE COMMANDED to produce a corporate representative for examination wader Federal Rule of Bankruptey Procedure 2004, pursuant
to the attached court order, regarding the following topics at the place, date and time epecified below:

SEE ATTACHED EXHIBIT A FOR TOPICS OF EXAMINATION

PLACE OF TESTIMONY

LEWIS AND ROCA, LLP

3993 HOWARD HUGHES PARKWAY, SUITE 600
LAS VEGAS, NEVADA 89169

(702) 949-8200

DATE AND TIME

May 23, 2007 at 10:00 A.M.

Or such other mutually
agreeable date and/or time

XX YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the place, date, and time

specified below:
SEE ATTACHED EXHIBIT B FOR DOCUMENTS REQUESTED
PLACE DATE
LEWIS AND ROCA, LLP April 25, 2007 at 10:00 A.M.
3993 HOWARD HUGHES FARK WAY, SUITE 600 Or such other mutually
LAS VEGAS, NEVADA 89169 agreeable date and/or time
(702) 949-8200
ISSUING OFFI IATURE AND TITLE DATE
/ /s
April 13, 2007
Special Hitlgation Counsel for the USACM Liquidating Trust
ISSUING OFFICER'S NAME, ADDRESS AND PHONE NUMBER
ERIC D. MADDEN
DIAMOND MCCARTHY LLP EXHIBIT

1201 ELM STREET, 34TH FLOOR
DALLAS, TEXAS 75270
(214) 389-5306

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PROOF'UF SERVICE
“PLACE: 3740 Pecos Mcleod Las Vegas,NV 89121

DATE 4~1 6407

at 1:46 p.m
SERVED: pesert commUnity Bank

SERVED ON (PRINT NAME)

MANNER OF SERVEE Fleen Hagler
Manager

DECLARATION OF SERVER

I declare under penalty of perjury under the Jaws of the United States of Ametica, that the foregoing information

contained in the Proof of Setvice is true and correct.

4

4+ 20-07
Date

Executed on

“

Signature of Server

1118 Fremont St. Las Vegas,NV 89101

Address of Server

Rule 45, Federal Rules of Civil Procedure, Parts (c) & (d) made applicable in cases under the Bankruptcy Code by Rule 9016, Fed.R.Banka.P.:

{c) PROTECTION OF PERSONS SUBIECT TO SUBPOENAS.

(1) A party or an altomney responsible for the igeuance and service of
a subpoent ‘shall take reasonable steps to avoid imposing, undue burden ot
expense on a person subject to that subpoena, The coutt of behalf of which the
sub a was issued shall enforce this duty end imposs upon the party or
attomey in breach of this duty an appropriate sanction, which tay include, but
ig not limited to, lost earnings and reasonable attorney's fee.

(2)tA), A person commanded to produce and permit inspection and
copying of designated books, papers, documents or tangible things, or
inspection of premises need not appear in persor at the place of production or
inspection unless commanded to appear for deposition, hearing of trial.

(B) Subject to paragraph (4)(2) of this tule, 4 person commanded to.
duce and permit inspection and sOpyINE may, within 14 days after service of
the subpoena or before fhe time specified for complianes if such time is less
then 14 days after service, serve upon the party or attorney
subpoena written objection to inspsction ot copying of any or all of the
designated materials or of the premises. If objection is made, the serving
the subpocne shall not be crititled to inspect and copy the materials. or inspect
the premiscs except pursuit ta an order by the cout by which the subpoena
was issued, If objection has been iiade, the party serving the subpoena may,
upon notice to the person commanded to produces, ttove at ary time for an
onder to compel the  prochuction, Such an order to compel préduction shall
protect any persons who is not 4 party of an officer of a party ftom significant
expense resulting from the inspection and copying commanded,

esignated in the

(3)(A)_ On timely motion, the court by which a subpoena was issued
shall quash or modify the subpoena if it

i) fails to allow reasonable time for compliance,

it) requires a person who is nota party or an officer of a
party to travel to a place more then 100 miles from the place where
hat person resides, 1s employed or regularly transacts business 9
person, except that, subject to the provisions of clause (GKBIGH)
of this rule, such a person may in order to attend taal be comman
to travel from any such place within the state in which the: trial is held
or,

100365037;)

(iii) requires disclosure of privileged or other protected
miatter and ne exception or waiver applies, or

Gv) subjects a person to undue burden.
(B) Ifa subpoena

@ requires disclosurc of a trade secret or other
confidential research, dcyelopment, or commercial infarmation, or

, _ Gi) requires disclosure of an Unretained expert's opinion or

information not cesctiting Specific events or eg ih digpute

' gnd resulting from the expert's study made not at the request of any
or

* Gii) requires & person who is not a party or on officer of 2

party to incur substantial expense (o travel more than 100 miles to

ited trial the court may, to proerta person subject, fp. or aftected

subpoena, quash or modify the subpoena or, if the party in

whose behalf the subpoena fs issued shows & substatitial need for the

teatimony or material that cannot be otherwise met without anduc

hardship and assures that the person to whom the subpoena is

addressed will be reasonably compensated, the court may order ap-

pearance or production only wpor specified coriditions.

(d) DUTIES IN RESPONDING TO SURPOENA.

(1) A person responding to a subpoena to produce documents shall
produce them as they are kept in the usual course of business at shall orgatiie
and label them to correspond with the categories in the dermand,

_ (2) When information eubject to a subpoena is withheld on a claim
that ie privileged or subject to protection as trial preparation materials, the claim
shall be madé expressly and shall be supported by a description of the nature of
the dosutents, Comunications, or things tot ‘produced that is sufficient to
chable the demnnding party to contest the Claim.

